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             EXHIBIT 60
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                EXHIBIT 13
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December 4, 2023                                                                         Disha R. Patel


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Re: ModernaTX, Inc. et al v. Pfizer Inc. et al, Case No. 1:22-cv-11378-RGS (D. Mass.): Plaintiffs’
    Document Production, Reproduction and Clawback

Counsel:

Pursuant to paragraph 9.2 of the Protective Order (Dkt. 67), please immediately destroy the original
and all copies of the documents produced by Plaintiffs at the following beginning Bates numbers,
destroy any notes or other writings or recordings that summarize, reflect, or discuss the specific
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MOD_000939290

Via an emailed secure link, you will also receive access to a share site containing documents
Plaintiffs are producing in the above-referenced action. These documents bear Bates numbers
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EYES ONLY” under the Protective Order in this matter (Dkt. 67) and should be treated accordingly.

The files have been password-protected, and the associated password are as follows:




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Regards,
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